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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                           Plaintiff

         -v-

THE PREMISES AND REAL PROPERTY WITH                     20-CV-1602
BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS AT 132 LAKEFRONT BOULEVARD
UNIT 601, BUFFALO, NEW YORK, THAT IS, ALL
THAT TRACT OR PARCEL OF LAND, SITUATED
IN THE CITY OF BUFFALO, COUNTY
OF ERIE, STATE OF NEW YORK, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN
DEED RECORDED IN THE ERIE COUNTY
CLERK’S OFFICE IN BOOK 11275, PAGE 6575;

THE PREMISES AND REAL PROPERTY WITH
ALL BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS, LOCATED AT 465 BRICKELL
AVENUE, UNIT 5102, MIAMI, FLORIDA, THAT IS,
ALL THAT TRACT OR PARCEL OF LAND,
SITUATED IN THE CITY OF MIAMI, MIAMI-DADE
COUNTY AND STATE OF FLORIDA, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN DEED
RECORDED IN MIAMI-DADE COUNTY RECORDER’S
OFFICE IN BOOK 30503, PAGE 4921;

THE PREMISES AND REAL PROPERTY WITH
ALL BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS, LOCATED AT 1201 20TH STREET,
UNIT 209, MIAMI BEACH, FLORIDA, THAT IS,
ALL THAT TRACT OR PARCEL OF LAND,
SITUATED IN THE CITY OF MIAMI BEACH, MIAMI-DADE
COUNTY AND STATE OF FLORIDA, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN DEED
RECORDED IN MIAMI-DADE COUNTY RECORDER’S
OFFICE IN BOOK 30817, PAGE 3415.


                           Defendants.



               GOVERNMENT'S MOTION TO SEAL
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         THE UNITED STATES OF AMERICA, by and through its attorneys, James P.

Kennedy, Jr., United States Attorney for the Western District of New York, Grace M. Carducci,

Assistant United States Attorney, of counsel, hereby moves the Court, pursuant to Rule 5.3 of

the Local Rules of Civil Procedure, for an Order sealing the Affidavit of Special Agent Jason A.

Kammeraad and its attached Exhibits that are referenced and incorporated in the government’s

Verified Complaint for Forfeiture.

         The government requests that the Affidavit and Exhibits remain under seal until

 further Order of the Court because the investigation is continuing and certain events and

 witnesses involved in this ongoing case now need to be protected. The government believes

 that the sealing of this Affidavit and Exhibits are necessary to protect the investigation.


         WHEREFORE, the United States respectfully requests that the Affidavit of Special

Agent Jason A. Kammeraad and its attached Exhibits, now be SEALED until further of the

Court.




DATED:         Buffalo, New York
               October 30, 2020
                                                    Respectfully submitted,

                                                    JAMES P. KENNEDY, JR.
                                                    United States Attorney



                                            BY:     s/GRACE M. CARDUCCI
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